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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF ALABAMA
                             MOBILE DIVISION

 JEREMY DRUMMOND,

                     Plaintiff,
       v.                                      Case No.: 1:24-cv-00072-TFM-B

 STRATUS NEURO,

                     Defendant.


      Comes now Plaintiff, Jeremy Drummond, and files this Motion to Quash the

lien filed by Constance Cooper and request for an expedited hearing in the above

styled matter. In support of the position that the lien should be quashed in its entirety

or at a minimum, Barrett & Farahany should be required to substantiate the fees and

expenses claimed so that Plaintiff may review and object to the propriety of the lien,

Plaintiff avers the following:

                                        FACTS

      1.     Plaintiff retained the services of Kira Fonteneau, a lawyer formerly

associated with Barrett and Farahany to represent him in the instant matter.

      2.     At the time of the retention, Drummond and Fonteneau executed a

contingency fee agreement governing the terms of the reprentation.

      3.     Thereafter, Fonteneau served as attorney of record in the case and filed

the instant action seeking damages for discrimination and retaliation.
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       4.     No other attorney from Barrett and Farahany ever entered an

appearance as attorney of record or performed any substantial work in this matter

for the Plaintiff.

       5.     On or about September 10, 2024, Plaintiff’s counsel, Kira Fonteneau

announced her intention to resign her employment with Barrett & Farahany. Ms.

Fonteneau and Barrett and Farahany’s CEO then agreed to have Attorney Fonteneau

work out a transition period, through the end of the year, in which Attorney

Fonteneau would work on exiting the firm and into her new firm, while handling

matters for the firm.

       6.     During that transition period, Fonteneau continued to work on the case

as Plaintiff’s sole counsel and eventually came to a tentative resolution of this matter

but had not agreed to final terms on the settlement agreement.

       7.     On or about September 25, 2024, Barrett & Farahany elected to accept

Fonteneau’s resignation effective immediately triggering the need to notify clients

of the need to make elections concerning their choice of attorney.



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      8.     Ultimately, Drummond elected to terminate his agreement with Barrett

& Farahany and hire Fonteneau’s new firm to represent him.

      9.     The parties later reached and finalized an agreement and have executed

all documents necessary to effectuate settlement leaving only the matter of

disbursement of the settlement to Plaintiff.

      10.    On or about October 29, 2024, Amanda Farahany of Barrett &

Farahany, an attorney licensed only in Georgia, emailed a series of form letters to

clients, including Drummond, who had elected to terminate Barrett & Farahany and

retain Fonteneau as counsel claiming that the firm was owed fees for services

rendered before its contract was terminated.

      11.    The letter asserted that “[p]ursuant to our representation agreement

with our client, we are entitled to a lien for the reasonable value of services rendered,

costs advanced, and expenses incurred[.],” but failed to identify what amount, if any,

the firm requested be withheld.

      12.    Although Ms. Farahany was aware that Drummond was represented by

counsel in the instant matter, she did not send the letter to Plaintiff’s counsel.

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      13.      After learning of Farahany’s communications, on or about November

4, 2024, Plaintiff’s counsel sent Barrett & Farahany’s counsel Exhibit A, an email

advising Barrett & Farahany that the instant case was resolved and requesting an

itemization of any lien asserted.

      14.      The email also provided the firm with an itemization of the time that

had been maintained contemporaneously by Plaintiff’s counsel during her

employment with Barrett & Farahany to aid in the timely reduction of the lien to a

sum certain.

      15.      Neither Farahany, Barrett & Farahany, or its counsel responded to the

request to acknowledge receipt or to return the information and document requested.

      16.      On or about November 6, 2024, Constance Cooper, Barrett &

Farahany’s lone lawyer licensed in Alabama filed a Notice of Lien in the instant

action (Doc. 23) but failed to attach the agreement upon which she based her

assertions to the Court.

      17.      In that Notice, Cooper alleges to the Court without providing a copy for

the Court’s review, that based on the fee agreement the firm is entitled to “the time

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spent by the departed attorneys rate at $500 per hour or a percentage of the fee,

dependent on when the matter resolves, whichever is greater, information that

cannot be specified at this time.” (Emphasis added)

      18.    The case was settled at the time of the filing.

      19.    Barrett & Farahany maintains a case management system which it uses

to track time, expenses and access documents and information related to legal

matters.

      20.    Contrary to the assertions in the filing made with this court, at the time

of the filing, Barrett & Farahany had an accounting of the expenses and all fees

claimed in this case, yet failed to disclose the amount it is requesting for its lien to

Drummond, this Court, or opposing counsel.

      21.    In addition, Barrett & Farahany, through its attorneys Constance

Cooper and Amanda Farahany, have filed similar liens in numerous other cases

contemporaneously in two states, many of which assert without factual basis that it

could not ascertain the fees owed or that it was entitled to fees pursuant to terms in

agreements that do not exist.

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                                       ARGUMENT

          A. Cooper’s lien is improper.

      This Court should quash Cooper’s lien becauase she is not a proper party to

enforce a lien in this case. The Alabama Code provides attorneys a statutory lien to

collect fees in cases in which they perform work. The statute states in pertinant part,

       (b) Upon actions and judgments for money, they shall have a lien superior to
all liens but tax liens, and no person shall be at liberty to satisfy said action or
judgment, until the lien or claim of the attorney for his fees is fully satisfied; and
attorneys-at-law shall have the same right and power over action or judgment to
enforce their liens as their clients had or may have for the amount due thereon to
them. Ala. Code § 34-3-61 (LexisNexis, Lexis Advance through the end of the 2024
Regular Session, but not including corrections and changes made to the 2024 session
laws by the Code Commissioner. ***)


However, the power to enforce such a lien lies only with attorneys of record. The

Alabama Courts have long held that attorneys’ liens are a limited remedy available

only to those lawyers who have actually performed work in a legal matter by

appearing on the record or in pleadings. In a case similar to this one, the Alabama

Court of Civil Appeals clearly articulated that “[i]nasmuch as Haynes was not

attorney of record at the time, and did not sign the pleadings or actively participate

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in the crucial phases of litigation, she is not a proper party to claim or enforce a lien

on the authority of Ala. Code 1975, § 34-3-61. Eaton v. Keller Plumbing Co., 587

So. 2d 338, 339 (Ala. Civ. App. 1991)

       Moreover, although an attorney’s lien is a creature of state law, “[f]ederal

courts sitting in a state enforce that state's statute creating attorneys' liens. Twin Pines

Coal Co., Inc. v. Twin Pines, LLC, No. 2:09-cv-1403-SLB, 2013 U.S. Dist. LEXIS

22053, at *11 (N.D. Ala. Feb. 19, 2013). But they must only do so when the party

seeking such lien is a proper party. See Id. at 15 (holding that a lawyer who had

never entered an appearance on behalf of the party from whom he sought fees was

not a proper party to bring a claim under the Alabama attorney’s lien statute.) The

Docket in this case unequivocally shows that Constance Cooper has performed no

work in the instant matter. She has never filed a Notice of Apperance in this matter

and the plain language of her filing indicates that she seeks to claim fees for the

“departed attorneys” including the undersigned, for work performed while employed

by Barrett & Farahany. Such a claim is not cognizable under the Alabama attorney’s

lien statute and the Notice of Lien is due to be quashed.

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          B. Cooper has not perfected the lien.

      Even if Cooper could establish that she was a proper party under the lien

statute, her claim for a lien must still fail because she failed to support the claim with

evidence. When evaluating the factors applicable to the determination of reasonable

attorney fees, "it is generally recognized that the first yardstick that is used by the

trial judges is the time consumed." Harris v. Capell & Howard, P.C., 280 So. 3d

419, 426 (Ala. Civ. App. 2019).          Cooper, in filing the Notice provided no

information from which this Court could determine the amount of the lien. Instead,

the filing seeks only to impede the Plaintiff’s ability to fully resolve this matter

without the Defendant first reserving for her firm some portion of the contingency

fees she contends are due to be paid to her firm by Plaintiff’s current counsel. In

doing so, Cooper has impeded Plaintiff’s access to the settlement to which it is

entitled in order to gain advantage in a matter collateral to this case. This conclusion

is supported by the fact that the lien only requests that the fees allocated in the

settlement be withheld for some undetermined time in the future because “the fee

cannot be specified at this time.”

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      Moreover, Cooper’s filing makes no mention of why the fee cannot be

ascertained at this time. The filing indicates that the fee agreement, which was not

provided to the Court for review, provides for a quantum meruit fee recovery based

on a calculation of hours by lodestar or a percentage of the settlement depending on

the stage of the case. However, the notice does not indicate the hours or the

percentage due and owing. If Cooper has a cognizable claim at all she must come

forth with sufficient evidence of the hours claimed for the Court to to determine what

fee, if any, is due. Given that Cooper presents no evidence of the fees owed in her

notice, no reason why the fee cannot be ascertained and Barrett & Farahany was

asked to substantiate its claim for fees before the lien notice was filed and have failed

or refused to provide such information, this Court should quash the lien for lack of

evidentiary support.

      For all the foregoing reasons, Plaintiff respectfully requests that this honorable

Court set this matter down for an expedited hearing to determine the sufficiency of

the Notice and upon hearing, quash the Notice of Lien as improperly filed.

      Respectfully submitted on November 9, 2024.

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       Respectfully Submitted on November 9, 2024.

                                                 /s/Kira Fonteneau
                                                 Kira Fonteneau ASB-7338-k58f

                                                 Counsel for Jeremy Drummond
       OF COUNSEL:

       The Workers Firm LLC
       2 North 20th St, Suite 900
       Birmingham, AL 35203
       T. 404.382.9660



                             CERTIFICATE OF SERVICE

       I certify that on November 9, 2024, I electronically filed the foregoing

 document which will serve copies to all counsel of record.

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       Attorneys for Stratus Neuro



                                              /s/Kira Fonteneau
                                              Kira Fonteneau




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